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     JIM MONTAGUE                                                 June 21,2017
     MONTAGUE vs YALE UNIVERSITY                                              1
 1                       UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT
 2

 3    JACK MONTAGUE,                  )
                                      )
 4                Plaintiff,)
                                      )
 5               -vs -               ) CIVIL ACTION NO. :
                                     ) 3:16-CV-00885-AVC
 6    YALE UNIVERSITY,       ET AL.,)
                                      )
 7                Defendants.)
                                      )
 8

 9

10         The deposition of JIM MONTAGUE,            a witness in the

11    above-entitled cause,        taken before Cynthia Odom,

12    Licensed Court Reporter and Notary Public in and for

13    Davidson County, Tennessee,          at 555 Marriott Drive,

14    Suite 315,      Nashville,   Tennessee, on the 21st day of

15    June,   2017,      commencing at 12:02 p.m.,      pursuant to the

16    Connecticut Rules of Civil Procedure.

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     JIM MONTAGUE                                                 June 21, 2017
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 1       Q.      Now, what did you do to prepare for this
 2    deposition?

 3       A.      I didn't.

 4        Q.     So you didn't talk to Attorney Stern?

 5       A.      We had dinner last night.

 6        Q.     And I take it you talked about the

 7    deposition?

 8       A.      Briefly.

 9        Q.     What did you talk about?

10                          MR. STERN:   Don't answer that.

11    BY MR. NOONAN:
12        Q.     And is it your position that you are

13    represented by Attorney Stern in this case?

14        A.      I   am.

15        Q.     And did you review any documents in.

16    preparation for the deposition?

17       A.      No.

18        Q.     Have you ever reviewed any of the documents

19    that relate to this case?

20       A.       I have.

21        Q.     Which ones?

22       A.      The ones that are public record, I don't know
23    which ones were sent by whom, the UW -- I don't know

24    the names of all the           or even the personnel involved

25    in the panels and whatnot,         I'm kind of --


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 1       A.      No.

 2       Q.      And you're paying Jack's attorney's fees;
 3    right?

 4                       MR. STERN:     Don't answer that.

 5                       MR. NOONAN:     Who's paying the attorney

 6    fees?

 7                       MR. STERN:     Yes, do not answer that.

 8                       MR. NOONAN:     But you have a claim for

 9    attorney fees in this case; right?

10                       MR. STERN:     Sure.

11                       MR. NOONAN:     So don't I get to know

12    what they are.

13                       MR. STERN:     You'll get to know them

14    when we win the case, you'll know all about them.

15    BY MR. NOONAN:

16       Q.      Okay.    And there's a public relations firm

17    that has been involved in assisting Jack with

18    publicity; is that right?

19       A.      Yeah, uh-huh.

20       Q.      And who is paying those fees?

21                       MR. STERN:     Don't answer that question.

22                       MR. NOONAN:      It's not the attorney's

23    fees.

24                       MR. STERN:     I know it's not the

25    attorney's fees.


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 1                       MR. NOONAN:      So you're claiming that is
 2    an attorney/client matter?
 3                       MR. STERN:      It's related to -- it's a
 4    lot closer to the representation than any of the
 5    claims that you've made about attorney/client, I'll
 6    tell you that.
 7                       MR. NOONAN:      Who is paying those fees?
 8                       MR. STERN:      I am telling him not to
 9    answer that question.
10                       MR. NOONAN:      Okay.    I just want the
11    record to be clear, you're instructing him not to
12    answer the question as to who is paying for the fees
13    of the public relations firm?
14                       MR. STERN:      I don't want to open this
15    question.
16                       MR. NOONAN:      I just want it clear.
17                       MR. STERN:      Is that all you want, to
18    know who is paying for it?
19                       MR. NOONAN:      That's the question that
20

21                       MR. STERN:      It's the only thing you
22    want to know, no follow-up questions?
23                       MR. NOONAN:      I don't know, it depends
24    on what the answer is.
25                       MR. STERN:      All right.      Go ahead, who


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 1    paid the fees for the PR person?

 2       A.       Is it Dean Holloway?         I'm sorry,    I had to.

 3    BY MR. NOONAN:

 4       Q.       That's all right.

 5       A.       That's a jab.

 6       Q.       I got it.

 7       A.       I am.

 8       Q.       And how much have they been to date?

 9                         MR. STERN:    No, don't answer any more.

10                         MR. NOONAN:    And the basis?

11       A.       A lot.

12                         MR. STERN:    No, no, no, no, no, no,

13    we're not answering that question.

14                         MR. NOONAN:    Could you just state the

15    basis?

16                         MR. STERN:    No,   I'm not going to say

17    anything,    I'm not answering.

18    BY MR. NOONAN:

19       Q.       Okay.     Is it more than $3,000?

20                         MR. STERN:    Do not answer the question.

21    BY MR. NOONAN:

22       Q.       And there has been some fundraising for

23    Jack's fees;    is that right?

24                         MR. STERN:    Do not answer the question.

25    This is not remotely going to lead to any admissible


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 1    evidence.
 2                       MR. NOONAN:     Don't know.
 3                       MR. STERN:     Yeah, well, I'm telling you
 4    it's not.
 5    BY MR. NOONAN:
 6       Q.       Has there been fundraising efforts for --
 7                       MR. STERN:     Do not answer the question.
 8                       MR. NOONAN:     What's the basis for that?
 9                       MR. STERN:     It is not relevant or even
10    likely to lead to the admissible evidence.
11                       MR. NOONAN:     But you're not allowed to
12    instruct people not to answer questions simply because
13    they're not relevant, Max.
14                       MR. STERN:     Well, then, you can file a
15    motion on this one; okay?
16    BY MR. NOONAN:
17       Q.       You've read Jack's transcript, you said?
18       A.       Yes.
19       Q.       Did you see in there that he was allowed to
20    answer questions about the public relations firm?
21                       MR. STERN:     Do not answer that
22    question.
23                       MR. NOONAN:     It's in his deposition.
24                       MR. STERN:     What does that have to do
25    with anything?


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 1        A.      He's a grown man, I'm a grown man.                I'm not
 2    answering that question.
 3    BY MR. NOONAN:
 4        Q.      Did you see that Jack discussed the PR firm
 5    and the efforts to raise funds to pay his legal fees
 6    and PR firm's in his deposition?
 7                        MR. STERN:      Well, I guess you know the
 8    answers to these.
 9                        MR. NOONAN:      I know what Jack said.
10                        MR. STERN:      Okay.
11                        MR. NOONAN:      I'm just    - -   I'm really
12    misunderstanding, Max, why you think you can do this.
13                        MR. STERN:      This is related to how he
14    funds his defense, and I don't think that's any of
15    your business; okay?
16                        MR. NOONAN:      And that's how he funds
17    his PR offensive, that's --
18                        MR. STERN:      That's your term, that's
19    your term, the way I look at it is protecting the
20    reputation which your client destroyed, which is part
21    of his legal -- of what he's trying to do legally,
22    he's trying to recover his reputation.
23                        MR. NOONAN:      So you're saying
24    communications about the PR firm are covered by the
25    attorney/client privilege?


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 1                       MR. STERN:      Some.
 2                       MR. NOONAN:      But you're not letting me
 3    ask any questions about the PR firm, right, that's
 4    what you've told me, I can't find out how much, what
 5    they're doing, what communications he's had with them,
 6    you're going to tell me he's not going to answer any
 7    of those; correct?
 8                       MR. STERN:      No, he's not.
 9                       MR. NOONAN:      None of those, you're not
10    going to allow him to answer those questions?
11                       MR. STERN:      Well, you can keep asking
12    questions and I'll keep taking it question by
13    question; all right?
14                       MR. NOONAN:      Okay.
15    BY MR. NOONAN:
16        Q.      Tell me about your communications with the PR
17    firm.
18                       MR. STERN:      Do not answer that.
19                       MR. NOONAN:      Let's mark that as -- this
20    will be J.
21                       (Reporter marks document as
22                      Deposition Exhibit J for
23                      identification.)
24    BY MR. NOONAN:
25        Q.      You all set?


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 1
      STATE OF TENNESSEE)
 2                           )    ss
      COUNTY OF DAVIDSON)
 3

 4            I, CYNTHIA ODOM, Licensed Shorthand Reporter and

 5    Notary Public duly and qualified in and for the State

 6    of Tennessee do hereby certify there came before me

 7    the deponent herein, namely JIM MONTAGUE, who was by

 8    me duly sworn to testify to the truth and nothing but

 9    the truth concerning the matters in this cause.

10         I further certify that the foregoing transcript is

11    a true and correct transcript of my original

12    stenographic notes.

13            I further certify that I am neither attorney or

14    counsel for,    nor related to or employed by any of the

15    parties to the action in which this deposition is

16    taken; and furthermore,          that I am not a relative or

17    employee of any attorney or counsel employed by the

18    parties hereto or financially interested in the

19    action.

20            IN WITNESS WHEREOF,       I have hereunto set my hand

21    and affixed my                                            of June,

22    2017.

23

24                                     CYNTHIA ODOM,
                                       NOTARY PUBLIC
25                                     TNLCR#: 487


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